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                                                            FILED & ENTERED
  1   ROBERT E. OPERA – State Bar No. 101182
      ropera@winthropcouchot.com
  2   PAYAM KHODADADI – State Bar No. 239906                    MAY 26 2011
      pkhodadadi@winthropcouchot.com
  3   WINTHROP COUCHOT                                       CLERK U.S. BANKRUPTCY COURT
      PROFESSIONAL CORPORATION                               Central District of California
  4   660 Newport Center Drive, Suite 400                    BY mendoza DEPUTY CLERK

      Newport Beach, CA 92660
  5   Telephone: (949) 720-4100
      Facsimile: (949) 720-4111
  6
      General Insolvency Counsel
  7   for Debtor and Debtor-in-Possession
  8

  9                           UNITED STATES BANKRUPTCY COURT

 10                            CENTRAL DISTRICT OF CALIFORNIA

 11                                    LOS ANGELES DIVISION

 12

 13   In re:                                  Case No.: 2:10-bk-12122 BR
 14   PERSIK PRODUCTIONS, INC.,               Chapter 11 Proceeding
 15   fka BOB YARI PRODUCTIONS,
                                              ORDER CONFIRMING DEBTOR’S SECOND
 16                                           AMENDED CHAPTER 11 PLAN OF
                   Debtor and                 REORGANIZATION
 17                Debtor-in-Possession
                                              DATE:     April 25, 2011
 18
                                              TIME:     2:00 p.m.
 19                                           PLACE:    Courtroom 1668
                                                        255 East Temple Street
 20                                                     Los Angeles, CA 90012
 21

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  1              The matter of the confirmation of the Second Amended Chapter 11 Plan of

  2   Reorganization (“Plan”), filed by Debtor and Debtor-in-Possession Persik Productions, Inc.

  3   (“Debtor”), came on for hearing on April 25, 2011, at 2:00 p.m., before the Honorable Barry

  4   Russell, United States Bankruptcy Judge, in the above-entitled Court. The Debtor was

  5   represented by Robert E. Opera of Winthrop Couchot Professional Corporation. The Committee

  6   was represented by Malhar S. Pagay of the law firm of Pachulski Stang Ziehl & Jones LLP.1 The

  7   Guilds were represented by Joseph A. Kohanski of the law firm of Bush, Gottlieb, Singer, López,

  8   Kohanski, Adelstein & Dickinson, a Law Corporation. Davand Holdings, LLC was represented

  9   by Penelope Parmes of the law firm of Rutan & Tucker, LLP. MHF Zweite Academy Film

 10   GmbH & Co. KG was represented by Jonathan Shenson of the law firm of Klee, Tuchin,

 11   Bogdanoff & Stern, LLP. R. Alexander Pilmer, the duly-appointed and acting Chapter 7 trustee

 12   in the case of Yari Film Group Releasing, LLC (Case No. 2:08-bk-32208 BR), was represented

 13   by Ashleigh Danker of the law firm of Kaye Scholer, LLP. Other appearances, if any, were as

 14   reflected in the Court record of the proceedings.

 15              This Order is based, in part, upon the following pleadings before this Court:

 16                       a.       Plan [Docket No. 221];

 17                       b.       Second Amended Disclosure Statement Accompanying Debtor’s Second

 18              Amended Chapter 11 Plan of Reorganization[Docket No. 222] (“Disclosure Statement”);

 19                       c.       Debtor’s Motion for Confirmation of Second Amended Chapter 11 Plan of

 20              Reorganization [Docket No. 224];

 21                       d.       Declaration of Bob Yari in Support of Motion for Confirmation of Second

 22              Amended Chapter 11 Plan of Reorganization [Docket No. 225];

 23                       e.       Declaration of Dennis Brown in Support of Motion for Confirmation of

 24              Second Amended Chapter 11 Plan of Reorganization [Docket No. 226];

 25                       f.       Notice of Hearing on Motion for Confirmation of Debtor’s Second Amended

 26              Chapter 11 Plan of Reorganization [Docket No. 227];

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      1
          Unless otherwise defined herein, the definitions of the capitalized terms contained herein are as set forth in the Plan.
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  1                g.      Notice of Filing Certain Exhibits to Debtor’s Second Amended Chapter 11

  2         Plan of Reorganization [Docket No. 228];

  3                h.      Declaration of Doug Gromley Re Service of “Plan Packages” [Docket

  4         No. 230];

  5                i.      Order Approving Debtor’s Second Amended Disclosure Statement

  6         Accompanying Debtor’s Second Amended Chapter 11 Plan of Reorganization [Docket

  7         No. 231];

  8                j.      Official Committee of Unsecured Creditors’ Limited Opposition to and

  9         Reservation of Rights Re: Debtor’s Second Amended Chapter 11 Plan of Reorganization

 10         [Docket No. 233] (“Committee Limited Opposition”);

 11                k.      Yari Film Group Releasing Chapter 7 Trustee’s Objection to Confirmation of

 12         Debtor’s Second Amended Chapter 11 Plan of Reorganization [Docket No. 237] (“YFGR

 13         Trustee’s Opposition”);

 14                l.      Debtor’s Supplemental Memorandum of Points and Authorities in Support of

 15         Compromise of Reimbursement/Contribution Claims Pursuant to Second Amended

 16         Chapter 11 Plan of Reorganization [Docket No. 242] (“Reimbursement/Contribution Claims

 17         Settlement Memorandum”);

 18                m.      Qualified Joinder of the Union Entities to Debtor’s Motion to Confirm

 19         Second Amended Chapter 11 Plan [Docket No. 246] (“Guilds Joinder”);

 20                n.      Stipulation Amending Stipulation for: (1) Further Extension of Time to File

 21         Plan of Reorganization and Disclosure Statement; (2) Further Extension of Debtor’s

 22         Exclusive Periods to File Plan of Reorganization and to Solicit Acceptances to Plan of

 23         Reorganization; and (3) Posting of Plan Deposit [Docket No. 248];

 24                o.      Debtor’s Reply to (1) Official Committee of Unsecured Creditors’ Limited

 25         Opposition to and Reservation of Rights Re: Debtor’s Second Amended Chapter 11 Plan of

 26         Reorganization; and (2) Yari Film Group Releasing Chapter 7 Trustee’s Objection to

 27         Confirmation of Debtor’s Second Amended Chapter 11 Plan of Reorganization[Docket

 28         No. 249] (“Reply”);

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  1                  p.      Debtor’s Supplemental Memorandum of Points and Authorities Regarding

  2          Plan Compliance with Sections 1129(a)(8) and 1129(a)(10) of the Bankruptcy Code

  3          [Docket No. 250];

  4                  q.      Supplemental Declaration of Bob Yari in Support of Debtor’s Reply to

  5          Objections to Confirmation of Debtor’s Second Amended Chapter 11 Plan of

  6          Reorganization [Docket No. 251];

  7                  r.      Declaration of P.J. Marksbury Re Tally of Ballots Cast Regarding Debtor’s

  8          Second Amended Chapter 11 Plan of Reorganization [Docket No. 252];

  9                  s.      Ballots Cast in Acceptance and Rejection of Debtor’s Second Amended

 10          Chapter 11 Plan of Reorganization [Docket No. 253];

 11                  t.      Debtor’s Emergency Motion for Authority to Count Late-Cast Ballots

 12          [Docket No. 254] (“Late-Cast Ballots Motion”);

 13                  u.      Debtor’s Notice of Motion and Motion Objecting to Claim No. 31 filed by

 14          R. Alexander Pilmer, Chapter 7 Trustee for Yari Film Group Releasing, LLC [Docket

 15          No. 255];

 16                  v.      Debtor’s Emergency Motion for Order Approving Settlement Agreement

 17          [Docket No. 258] (“MHF Settlement Agreement Motion”);

 18                  w.      Order Granting Debtor’s Emergency Motion for Order Approving

 19          Settlement Agreement [Docket No. 262];

 20                  x.      Order Granting Debtor’s Emergency Motion for Authority to Count Late-

 21          Cast Ballots [Docket No. 263]; and

 22                  y.      Findings of Fact and Conclusions of Law in Support of Order Confirming

 23          Second Amended Joint Chapter 11 Plan of Reorganization.

 24          Based upon the foregoing pleadings, the other pleadings and documents on file in the

 25   Case, the Court’s findings of fact and conclusions of law entered in support hereof, this Court’s

 26   granting of the Late-Cast Ballots Motion and the MHF Settlement Agreement Motion, the Guilds

 27   Joinder, the withdrawal by the Committee of the Committee Limited Opposition, and the Court’s

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  1   overruling of the YFGR Trustee’s Opposition, and the arguments presented at the Confirmation

  2   Hearing, and for other good and sufficient cause,

  3          IT IS HEREBY ORDERED that:

  4          1.      The Plan, a true and complete copy of which is filed as Docket No. 221 in the

  5                  Court, is hereby confirmed, and all of the provisions of the Plan are hereby

  6                  approved.

  7          2.      Each of the Debtor, the Reorganized Debtor and the Yari Parties is hereby

  8                  authorized and directed to execute and to deliver as soon as practicable after the

  9                  Confirmation Date, but in no event later than the fourteenth (14th) day after the

 10                  Confirmation Date, any Plan Documents to which it is a party. The parties to the

 11                  Plan Documents may make any non-material amendments or modifications to the

 12                  Plan Documents upon which they mutually agree.

 13          3.      The settlement of the amount of the Guilds’ Allowed Secured Claims and Allowed

 14                  General Unsecured Claims, as described, respectively, in Sections 5.2 and 5.2.13 of

 15                  the Plan, and the settlement of the Reimbursement/Contribution Claims, as described

 16                  in Section 6.31 of the Plan and the support for which settlement is provided, in part,

 17                  by the Reimbursement/ Contribution Claims Settlement Memorandum, are hereby

 18                  approved as fair and reasonable settlements and settlements negotiated in good faith

 19                  pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure, and all parties

 20                  to such settlements and compromises are authorized to take any act and to execute

 21                  any document appropriate to effectuate such settlements and compromises.

 22          4.      In accordance with the provisions of Section 2.1.55 of the Plan, on or as soon as

 23                  practicable after the Confirmation Date, but in no event later than the Effective

 24                  Date, Davand shall provide to the Reorganized Debtor the Davand Effective Date

 25                  Contribution.

 26          5.      In accordance with the provisions of Section 2.1.73 of the Plan, the Effective Date

 27                  of the Plan shall be the fourteenth (14th) day following the waiver or satisfaction

 28                  of the conditions set forth in Section 6.3 of the Plan. In accordance with the

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  1               provisions of Section 6.3 of the Plan, the occurrence of the Effective Date is

  2               conditioned upon the filing of the Plan Documents (with all schedules and exhibits

  3               appended thereto) in form and content satisfactory to the Guilds, the Committee

  4               and to the other parties to the Plan Documents and the execution of the Plan

  5               Documents by, and delivery of the Plan Documents among, the parties to the Plan

  6               Documents. The Debtor, the Committee, the Guilds, Davand, all Yari Parties, and

  7               all other Creditors and parties-in-interest shall use their respective reasonable best

  8               efforts to satisfy as expeditiously as possible the conditions set forth in Section 6.3

  9               of the Plan.

 10         6.    In accordance with the provisions of Section 2.1.75 of the Plan, the Debtor shall

 11               cause each Subsidiary to make, on or before the Effective Date, any Effective Date

 12               Subsidiary Distribution.

 13         7.    In accordance with the provisions of Section 2.1.114 of the Plan, on the Effective

 14               Date, all Plan Fund Assets shall be transferred or granted to, and administered by,

 15               the Plan Agent pursuant to the Plan and/or the Plan Documents.

 16         8.    In accordance with the provisions of Section 2.1.139 of the Plan, all Retained

 17               Assets shall revest in the Reorganized Debtor on the Effective Date of the Plan.

 18         9.    Except as set forth expressly to the contrary in Section 3.1.2 of the Plan, all

 19               requests for payment of Administrative Claims must be filed and served no later

 20               than the Administrative Claims Bar Date. Any holder of an Administrative Claim

 21               that is required to file a request for payment of its Administrative Claim by the

 22               Administrative Claims Bar Date and that does not file by the Administrative Claims

 23               Bar Date such request for payment of its Administrative Claim shall be forever

 24               barred from asserting such Administrative Claim in accordance with the provisions

 25               of Section 3.1.2 of the Plan.

 26         10.   In accordance with the provisions of Section 5.2.2 of the Plan, the Guilds

 27               Forbearance Agreement (Exhibit “B” to the Plan) shall become effective and

 28               enforceable on the Effective Date.

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  1         11.   In accordance with the provisions of Section 5.2.3 of the Plan, each Guild’s

  2               Allowed Secured Claim shall be in the following amount:

  3                       a.      DGA -- $456,370

  4                       b.      WGA -- $535,095

  5                       c.      SAG -- $1,358,535

  6                       d.      MPIPHP -- $0

  7               Interest shall accrue on the Guilds’ Allowed Secured Claims in accordance with

  8               the provisions of Section 5.2.4 of the Plan. Distributions shall be made on account

  9               of the Guilds’ Allowed Secured Claims in accordance with the provisions of

 10               Section 5.2 of the Plan, including, without limitation, pursuant to the provisions of

 11               Sections 5.2.5 and 5.2.6 of the Plan.

 12         12.   The Plan Agent shall make Distributions to the holders of Allowed Class 5 Claims,

 13               from Plan Fund Proceeds, in accordance with the provisions of Section 5.5 of the

 14               Plan.

 15         13.   Subject to Davand’s compliance with its obligations under Section 5.7.2 of the

 16               Plan, Davand, as the Interest Holder under the Plan, shall retain, without

 17               modification or alteration, all of its rights, remedies and interests pursuant to the

 18               Interest, except that such Interest shall be subject to the Davand Pledge

 19               Agreement, in accordance with the provisions of Section 5.7 of the Plan.

 20         14.   In accordance with the provisions of Section 6.6 of the Plan, on the Effective Date,

 21               John Hyde shall be appointed Plan Agent under the Plan.

 22         15.   In accordance with the provisions of Section 6.6, et seq., of the Plan, the Plan

 23               Agent shall have all rights, powers, remedies and duties described in the Plan, in

 24               additional to any and all rights, powers, remedies and duties reasonably necessary

 25               and appropriate to carry out the purpose and intent of the Plan which are not

 26               inconsistent with the provisions of the Plan, including, without limitation, the right

 27               to enforce, on behalf of the holders of Allowed Class 5 Claims, any and all

 28               remedies that the holders of Allowed Class 5 Claims may have under the Plan, the

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  1               Plan Documents, the Bankruptcy Code, or under other applicable law in the event

  2               of a default by the Reorganized Debtor, a Subsidiary, or by a Yari Party in the

  3               performance of its obligations to holders of Allowed Class 5 Claims under the Plan

  4               and/or the Plan Documents.

  5         16.   The Plan Agent shall have the rights, powers and duties granted to the Plan Agent

  6               pursuant to the Plan, including, without limitation, pursuant to Sections 6.6.1

  7               through 6.6.8 of the Plan.

  8         17.   In accordance with the provisions of Section 6.7.1 of the Plan, the Reorganized

  9               Debtor shall cause the Subsidiaries to pay directly to the Plan Fund, within twenty

 10               (20) days after the end of each calendar quarter, the Creditors’ Share of the

 11               Subsidiary Distributions.

 12         18.   In accordance with the provisions of Section 6.7.2 of the Plan, on the Effective

 13               Date, the Debtor shall transfer to the Plan Fund any Effective Date Cash Balance.

 14         19.   The exculpatory provisions contained in Sections 6.11, 7.2.5, 12.1, 12.2 and 12.3

 15               of the Plan, are hereby approved as being appropriate and necessary to, inter alia,

 16               facilitate Confirmation.

 17         20.   In accordance with the provisions of Section 6.13 of the Plan, as of the Effective

 18               Date, (a) all duties of the Committee in the Case shall be terminated, and the

 19               Committee shall have no further role or function in the Case; and (b) the

 20               Committee shall be replaced by the Post-Effective Date Committee, in accordance

 21               with the provisions of Section 6.13 of the Plan.

 22         21.   Any Avoidance Action Payment Claim shall be forever barred, shall not be

 23               enforceable against the Debtor or the Reorganized Debtor or the Plan Fund, and

 24               shall not be entitled to any Distribution under the Plan, unless a Proof of Claim for

 25               such Avoidance Action Payment Claim is timely filed and served on the Plan Agent

 26               and the Reorganized Debtor in accordance with the provisions of Section 8.4 of

 27               the Plan.

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  1         22.   In accordance with the provisions of Section 11.1 of the Plan, Confirmation of the

  2               Plan shall have all of the effects provided by section 1141 of the Bankruptcy Code

  3               which are not inconsistent with the terms of the Plan. Except as provided

  4               expressly to the contrary in the Plan or the Plan Documents (including, without

  5               limitation, the Guilds Forbearance Agreement), and with respect to the obligations

  6               created pursuant to the Plan, pursuant to section 1141(d) of the Bankruptcy Code,

  7               the Distributions and rights that are provided in the Plan shall be in complete

  8               satisfaction, settlement, release and discharge, effective as of the time a Final

  9               Decree in this Case becomes a Final Order, of all known or unknown Claims and

 10               Administrative Claims against, rights against, liabilities of, obligations of, and any

 11               Liens encumbering the Debtor’s assets and properties, including but not limited to,

 12               Claims of the kind specified in sections 502(g), 502(h) and 502(i) of the

 13               Bankruptcy Code, in each case whether or not (a) a Proof of Claim based upon

 14               such Claim is filed or deemed filed under section 501 of the Bankruptcy Code,

 15               (b) such Claim is allowed under section 502 of the Bankruptcy Code, or (c) the

 16               holder of such Claim accepted the Plan. Subject to the occurrence of the Effective

 17               Date and effective only at such time as the Final Decree in this Case becomes a

 18               Final Order, this Order shall constitute a determination of the discharge of all

 19               Claims and Administrative Claims against the Debtor, to the fullest extent

 20               permitted by section 1141 of the Bankruptcy Code. Any obligations of the Debtor

 21               to Creditors imposed by the Plan shall be compensable only from Distributions

 22               made pursuant to the Plan in accordance with the provisions of Section 11.1 of the

 23               Plan.

 24         23.   In accordance with the provisions of Section 11.2 of the Plan, except as provided

 25               expressly to the contrary in the Plan or the Plan Documents (including, without

 26               limitation, the Guilds Forbearance Agreement), on and after the Effective Date, all

 27               Creditors who have held, hold, or who may hold a Claim (including, but not

 28               limited to, states and other governmental units, and any state official, employee, or

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  1               other entity acting in an individual or official capacity on behalf of any state or

  2               other governmental unit) shall be permanently enjoined from the following:

  3               (a) taking any of the following actions on account of any such Claim:

  4               (i) commencing or continuing in any manner any action or other proceeding

  5               against the Debtor or the Reorganized Debtor, their respective Representatives,

  6               successors, or property; (ii) enforcing, attaching, executing, collecting, or

  7               recovering in any manner any judgment, award, decree, or order against the

  8               Debtor or the Reorganized Debtor, their respective Representatives, successors, or

  9               property; (iii) creating, perfecting, or enforcing any Lien against the Debtor or the

 10               Reorganized Debtor, their respective Representatives, successors, or property;

 11               (iv) asserting any set off, right of subrogation, or recoupment of any kind against

 12               any obligation due to the Debtor or the Reorganized Debtor, their respective

 13               Representatives, successors, or property; and (v) commencing or continuing any

 14               action, in any manner, in any place that does not comply with or is inconsistent

 15               with the provisions of the Plan; and (b) taking any acts on account of any Causes

 16               of Action that are vested in, or transferred to, the Reorganized Debtor or to the

 17               Plan Agent as of the Effective Date, including, without limitation, commencing or

 18               continuing in any manner any Avoidance Action (i.e., no party may pursue any

 19               Causes of Action except as provided by the Plan). Any person or entity injured by

 20               any willful violation of such injunction shall recover its actual damages, including

 21               costs and attorneys' fees, and, in appropriate circumstances, may recover punitive

 22               damages from the willful violator of such injunction.

 23         24.   In accordance with the provisions of Section 11.3 of the Plan, except as provided

 24               expressly to the contrary in the Plan or the Plan Documents (including, without

 25               limitation, the Guilds Forbearance Agreement), the rights afforded under the Plan

 26               and the treatment of all Claims under the Plan shall be in exchange for and in

 27               complete satisfaction, settlement, release and discharge of all Claims (including

 28               Administrative Claims and any interest accrued on any Claim from and after the

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  1               Petition Date) against the Debtor, the Reorganized Debtor, and any of their

  2               respective assets and property, except with respect to the obligations imposed

  3               thereon in connection with the Plan and any Plan Documents. Except as otherwise

  4               provided in the Plan or the Plan Documents (including, without limitation, the

  5               Guilds Forbearance Agreement), upon the Effective Date, each Creditor shall be

  6               deemed to have irrevocably and unconditionally settled and released, fully and

  7               forever, any Claims against the Debtor and the Reorganized Debtor, and their

  8               respective assets and properties. Except as otherwise provided in the Plan, all

  9               Creditors shall be precluded from asserting all Claims against the Debtor and the

 10               Reorganized Debtor, and their respective assets and properties. Notwithstanding

 11               anything herein to the contrary, no Cause of Action that is the property of the

 12               Debtor and/or the Estate shall in any way be released, modified, altered or

 13               compromised by virtue of the confirmation of the Plan and all Causes of Action

 14               shall automatically be transferred, as of the Effective Date, to the Plan Fund or to

 15               the Reorganized Debtor in accordance with the provisions of Section 6.15 of the

 16               Plan.

 17         25.   In accordance with the provisions of Section 11.5 of the Plan, upon the Effective

 18               Date, the provisions of the Plan shall be binding upon the Debtor, the Reorganized

 19               Debtor, the Plan Agent, each Creditor and the Interest Holder.

 20         26.   Except only for the Retained Assets which shall be vested in the Reorganized

 21               Debtor, on the Effective Date, all assets, properties and interests of the Estate shall

 22               vest in, and shall be property of, the Plan Fund.

 23         27.   As of the Effective Date, the Reorganized Debtor may operate its business and

 24               use, acquire, and dispose of property and settle and compromise Claims without

 25               the supervision of or any authorization from, this Court or the United States

 26               Trustee, and free of any restriction of the Bankruptcy Code or Bankruptcy Rules,

 27               other than those restrictions specifically provided for in the Plan.

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  1         28.   Until the Case is closed, this Court shall retain jurisdiction over the Case in order to

  2               ensure that the purposes and intent of the Plan are carried out. Without limiting the

  3               generality of the foregoing, this Court shall retain jurisdiction over the Case for the

  4               purposes set forth in Section 13.10 of the Plan.

  5         29.   In accordance with the provisions of Section 13.17 of the Plan, pursuant to

  6               sections 105 and 1142 of the Bankruptcy Code, the Plan Agent and the Reorganized

  7               Debtor are authorized and empowered to execute any document and to take any act

  8               that may be appropriate to effectuate the terms and conditions of the Plan.

  9         30.   This Order shall be deemed to constitute all the approvals and consents required, if

 10               any, by the laws, rules or regulations of any state or any other governmental unit with

 11               respect to the implementation or consummation of the Plan and any other documents,

 12               instruments or agreements and any other acts referred to in, or contemplated by, the

 13               Plan.

 14         31.   The transactions contemplated by the Plan are in compliance with and satisfy all

 15               applicable provisions of the Bankruptcy Code, and the terms and conditions of the

 16               Plan are fair and reasonable.

 17         32.   As of the Effective Date, the provisions of this Order, as well as all provisions of the

 18               Plan, shall be binding in all respects upon the Debtor and each Creditor and Interest

 19               Holder, whether or not such Creditor or Interest Holder has accepted the Plan.

 20         33.   In accordance with the provisions of Section 12.1 of the Plan, as specified in

 21               Section 1125(e) of the Bankruptcy Code, neither the Debtor, the Reorganized

 22               Debtor, the Committee, the Guilds nor any of their respective members, officers,

 23               directors, employees, agents, representatives, advisors or professionals shall have or

 24               incur any liability to any Creditor or party-in-interest, on account of their solicitation

 25               of acceptances or rejections of the Plan for violation of any applicable law, rule or

 26               regulation governing the solicitation of acceptances or rejections of the Plan.

 27         34.   The disposition of the Interest pursuant to the Plan is in good faith and in compliance

 28               with the provisions of the Bankruptcy Code, and, accordingly, neither the Debtor,

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  1               the Reorganized Debtor, nor any other person or entity is liable, on account thereof,

  2               for violation of any applicable law, rule, or regulation governing the offer, issuance,

  3               sale or purchase of securities.

  4         35.   In accordance with the provisions of Rule 3020-1(b) of the Local Bankruptcy Rules

  5               and Section 13.4 of the Plan, within 120 days after the entry of this Order, the

  6               Reorganized Debtor shall file a status report (“Status Report”) explaining the

  7               progress that has been made toward consummation of the Plan. The Status Report

  8               shall be served on the United States Trustee, the Plan Agent, and any other Post-

  9               Effective Date Notice Party. Further Status Reports shall be filed and served every

 10               120 days during the Case, unless otherwise ordered by this Court. Each Status

 11               Report shall include the information required by Local Bankruptcy Rule 3020-1(b).

 12         36.   As of the Effective Date, all of the provisions of Article XIV of the Plan shall be

 13               deemed to be void, no longer of any force or effect, and shall be deemed to have

 14               been severed from the Plan.

 15         37.   The failure to reference or discuss any particular provision of the Plan in this Order

 16               shall have no effect on the validity, binding effect and enforceability of such provision

 17               and such provision shall have the same validity, binding effect and enforceability as

 18               every other provision of the Plan.

 19         38.   The provisions of Rule 3020(e) and, to the extent otherwise applicable,

 20               Rules 6004(h), 6006(d) and 7062, of the Federal Rules of Bankruptcy Procedure

 21               shall not apply, and this Order shall take effect immediately and shall not be stayed.

 22         39.   No further notice or hearing shall be necessary to effectuate the foregoing.

 23   [SIGNATURES ON NEXT PAGES]

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  1   PRESENTED BY:
  2
      WINTHROP COUCHOT
  3   PROFESSIONAL CORPORATION

  4

  5   By: /s/ Robert E. Opera
             Robert E. Opera
  6          Payam Khodadadi
      General Insolvency Counsel for
  7   Debtor and Debtor-in-Possession
      Persik Productions, Inc.
  8

  9   NO OPPOSITION TO THE FOREGOING.

 10   KLEE, TUCHIN, BOGDANOFF &
      STERN, LLP.
 11

 12
      By:   /s/ Jonathan S. Shenson
 13           Jonathan S. Shenson
              Korin A. Elliott
 14   Counsel for MHF Zweite Academy
 15   Film GmbH & Co. KG

 16   BUSH, GOTTLIEB, SINGER, LÓPEZ,
      KOHANSKI, ADELSTEIN & DICKINSON,
 17   a Law Corporation
 18

 19   By:  /s/ Joseph A. Kohanski
             Joseph A. Kohanski
 20          David E. Ahdoot
      Counsel for the Guilds
 21

 22   PACHULSKI STANG ZIEHL &
      JONES LLP
 23

 24   By:  /s/ Jeremy Richards
             Jeremy Richards
 25
             Malhar S. Pagay
 26   Counsel for the Official Committee of
      Unsecured Creditors
 27

 28   [SIGNATURES CONTINUED ON NEXT PAGE]
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  1    RUTAN & TUCKER, LLP
  2

  3    By:  /s/ Penelope Parmes
              Penelope Parmes
  4    Counsel for Davand Holdings, LLC
  5
       NO OPPOSITION TO THE FORM OF
  6    THE ORDER.

  7    KAYE SCHOLER, LLP
  8

  9    By:   /s/ Ashleigh A. Danker
               Ashleigh A. Danker
 10    Insolvency Counsel for R. Alexander
       Pilmer, Chapter 7 Trustee in the Yari
 11    Film Group Releasing, LLC Case
 12

 13                                                  ####

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      DATED: May 26, 2011
                                               United States Bankruptcy Judge
 26

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                                                                        Order#115553#c59e9e81-7206-41cc-94ee-674f472f8eaf.doc
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  1                                     PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                              th
      address is: 660 Newport Center Drive, 4 Fl., Newport Beach, CA 92660.
  3
      A true and correct copy of the foregoing document described as: ORDER CONFIRMING DEBTOR’S
  4   SECOND AMENDED CHAPTER 11 PLAN OF REORGANIZATION will be served or was served (a) on
      the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated
  5   below:

  6   I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF ”) – Pursuant to
      controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served
  7   by the court via NEF and hyperlink to the document. On ________________, 2011, I checked the CM/ECF
      docket for this bankruptcy case or adversary proceeding and determined that the following person(s) are on
  8   the Electronic Mail Notice List to receive NEF transmission at the email address(es) indicated below:

  9      Service information continued on attached page

 10   II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):
      On ___________________, 201, I served the following person(s) and/or entity(ies) at the last known
      address(es) in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
 11
      sealed envelope in the United States Mail, first class, postage prepaid, and/or with an overnight mail
      service addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
 12   be completed no later than 24 hours after the document is filed.
 13

 14
         Service information continued on attached page
 15
      III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for
 16   each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 10, 2011, I served
      the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such
 17   service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
      declaration that personal delivery on the judge will be completed no later than 24 hours after the document
 18   is filed.

 19

 20      Service information continued on attached page

 21
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
 22   and correct.

 23    May 10, 2011              Susan Connor                               /s/ Susan Connor
       Date                           Type Name                             Signature
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      SERVICE VIA E-MAIL
  1
      Russell Clementson on behalf of U.S. Trustee United States Trustee (LA)
  2   russell.clementson@usdoj.gov
  3
      Ashleigh Danker on behalf of Creditor Official Committee of Unsecured Creditors in Yari Film
  4   Group Releasing, LLC
      adanker@kayescholer.com
  5

  6
      Joseph A Kohanski on behalf of Interested Party Courtesy NEF
  7   jkohanski@bushquinonez.com, tjimines@bushgottlieb.com

  8   Malhar S Pagay on behalf of Attorney Official Committee of Unsecured Creditors in Persik
      Productions, Inc.
  9
      mpagay@pszjlaw.com, mpagay@pszjlaw.com
 10
      Jonathon Shenson on behalf of Attorney JONATHAN SHENSON
 11   jshenson@ktbslaw.com
 12   Davand Holdings: Penelope Parmes: pparmes@rutan.com
 13

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                                                                      Order#115553#c59e9e81-7206-41cc-94ee-674f472f8eaf.doc
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                                NOTICE OF ENTERED ORDER AND SERVICE LIST
  1
      Notice is given by the court that a judgment or order entitled (specify): ORDER CONFIRMING
  2   DEBTOR’S SECOND AMENDED CHAPTER 11 PLAN OF REORGANIZATION was entered on the date
      indicated as Entered on the first page of this judgment or order and will be served in the manner indicated
  3   below:

  4
      I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) B Pursuant to controlling
  5   General Order(s) and Local Bankruptcy Rule(s), the foregoing document was served on the following
      person(s) by the court via NEF and hyperlink to the judgment or order. As of May 10, 2011, the following
  6   person(s) are currently on the Electronic Mail Notice List for this bankruptcy case or adversary proceeding
      to receive NEF transmission at the email address(es) indicated below.
  7

  8

  9
              Service information continued on attached page
 10
      II. SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this judgment or
 11   order was sent by United States Mail, first class, postage prepaid, to the following person(s) and/or
      entity(ies) at the address(es) indicated below:
 12

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 15           Service information continued on attached page

 16   III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment
      or order which bears an Entered stamp, the party lodging the judgment or order will serve a complete copy
 17   bearing an Entered stamp by U.S. Mail, overnight mail, facsimile transmission or email and file a proof of
      service of the entered order on the following person(s) and/or entity(ies) at the address(es), facsimile
 18   transmission number(s), and/or email address(es) indicated below:

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              Service information continued on attached page
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  1
      ADDITIONAL SERVICE INFORMATION (if needed):
  2

  3   NEF SERVICE LIST

  4      •   David E Ahdoot dahdoot@bushgottlieb.com, tjimines@bushgottlieb.com
         •   Michael F Chekian mike@cheklaw.com, msalanick@cheklaw.com
  5      •   Russell Clementson russell.clementson@usdoj.gov
         •   Alicia Clough alicia.clough@kayescholer.com
  6      •   Marc S Cohen mcohen@kayescholer.com
         •   Jeremy Faith jfaith@goodmanfaith.com
  7      •   Richard H Golubow rgolubow@winthropcouchot.com, pj@winthropcouchot.com
         •   David Guess dguess@ktbslaw.com
  8      •   Alan S Gutman alangutman@gutmanlaw.com
         •   Garrick A Hollander ghollander@winthropcouchot.com,
  9          sconnor@winthropcouchot.com;pj@winthropcouchot.com
         •   Lance N Jurich ljurich@loeb.com, kpresson@loeb.com
 10      •   Joseph A Kohanski jkohanski@bushquinonez.com, tjimines@bushgottlieb.com
         •   Robert E Opera ropera@winthropcouchot.com, sconnor@winthropcouchot.com;pj@winthropcouchot.com
 11
         •   Malhar S Pagay mpagay@pszjlaw.com, mpagay@pszjlaw.com
         •   Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com
 12
         •   Yonaton M Rosenzweig yoni.rosenzweig@kattenlaw.com
 13      •   James R Selth jim@wsrlaw.net, charles@wsrlaw.net
         •   Jonathon Shenson jshenson@ktbslaw.com
 14      •   Howard Steinberg hsteinberg@irell.com, awsmith@irell.com
         •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 15      •   Pamela Kohlman Webster pwebster@buchalter.com
         •   Eric D Winston ericwinston@quinnemanuel.com
 16      •   Marc J Winthrop mwinthrop@winthropcouchot.com, pj@winthropcouchot.com
         •   Melvin Yee myee@bushgottlieb.com, tjimines@bushgottlieb.com
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